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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
CHAD HAYSE,

      Plaintiff,
vs.                                            Case No: 17-cv-13294
                                               Hon. Linda V. Parker
CITY OF MELVINDALE, a political                Mag. Elizabeth A. Stafford
Subdivision of the State; MELVINDALE
CITY COUNCIL, a legislative body of the
City of Melvindale; NICOLE BARNES,
WHEELER MARSEE, MICHELLE SAID
LAND, DAVE CYBULSKI, CARL
LOUVET, and STEVEN DENSMORE,
individuals, sued in their official and
personal capacities,

       Defendants.
__________________________________________________________________
DEBORAH GORDON LAW                     FOLEY & MANSFIELD, PLLP
Deborah L. Gordon (P27058)             Gregory M. Meihn (P38939)
Benjamin I. Shipper (P77558)           Melinda Balian (P55744)
Irina L. Vaynerman (0396759)           Attorneys for Defendants
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________________________________________________________________
  PLAINTIFF’S MOTION TO AMEND REPLY TO ADD CITATIONS TO
         TRANSCRIPT OF DEPOSITION OF MATTHEW FURMAN
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        NOW COMES Plaintiff Chad Hayse, by and through his attorneys, Deborah

Gordon Law, and for his Motion to Amend Plaintiff’s Reply to Defendants’

Response to Plaintiff’s Motion to Compel Defendants’ Responses to Plaintiff’s

First Set of Interrogatories and Requests to Produce to Add Citations to the

Transcript of Matthew Furman, and states as follows:

        1.   This is an action by Plaintiff Chad Hayse against Defendants City of

Melvindale, Melvindale City Council, and City Council Members for depriving

him of his Fourteenth Amendment due process rights under the United States

Constitution.

        2.   Plaintiff, formerly the City of Melvindale’s Chief of Police, filed this

lawsuit on October 6, 2017 (Dkt. #1).

        3.   This Motion is brought under Fed. R. Civ. P. 15(a)(1)(A) and Local

Rule 15.1 to request the Court’s leave to amend Plaintiff’s Reply to Defendants’

Response to Plaintiff’s Motion to Compel Defendants’ Responses to Plaintiff’s

First Set of Interrogatories and Requests to Produce to add citations to the

deposition transcript of Matthew Furman.

        4.   Plaintiff’s Reply was filed on the due-date of March 15, 2018 (Dkt.

#44).
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      5.      The deposition of Melvindale Police Sergeant Matthew Furman was

conducted on March 13, 2018, but the deposition transcript was not completed

until March 15, 2018.

      6.      In order to set forth a full and timely Reply, Plaintiff cited to the then-

incomplete transcript of Plaintiff’s deposition of Matthew Furman on pages 2 and

4 of Plaintiff’s Reply (Dkt. #44 at 2, 4).

      7.      The deposition transcript of Matthew Furman having now been

received, Plaintiff seeks leave to amend his Reply to add citations to the record as

follows:

           a. Dkt. #44 at 2 n.2: Ex. W, Furman Dep. at 78: 23-24; 79: 2-13.

           b. Dkt. #44 at 4 n.4: Ex. W, Furman Dep. at 66: 6-16; 67: 4-5; 279:13-

              16; 280: 9-14.

      8.      The Amended Reply is attached to this Motion as Exhibit A.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter an Order granting Plaintiff leave to amend his Reply to Defendants’

Response to Plaintiff’s Motion to Compel Defendants’ Responses to Plaintiff’s

First Set of Interrogatories and Requests to Produce.
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Dated: March 20, 2018                  DEBORAH GORDON LAW
                                       /s/ Elizabeth Marzotto Taylor (P82061)
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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 20, 2018 I electronically filed with the
foregoing Motion, & Exhibits with the Clerk of the Court using the ECF system
which will send notification of such filing to all counsel of record.

                                   DEBORAH GORDON LAW
                                   Deborah L. Gordon (P27058)
                                   Benjamin I. Shipper (P77558)
                                   Irina L. Vaynerman (0396759)
                                   /s/Elizabeth Marzotto Taylor (P82061)
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